Case 5:15-CV-02910-KLH Document 1 Filed 12/31/15 Page 1 of 6 Page|D #: 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
SHREVEPORT DIVISION

JENNIFER JONES, individually and CIVIL ACTION NO.
on behalf of the Estate of her Mother,
Jewel Walker, Deceased

VERSUS JUDGE

ARCADIA NURSING AND

REHABILITATION CENTER, LLC,

db/a WILLOW RIDGE NURSING MAGISTRATE JUDGE

AND REHABILITATION CENTER, LLC,
DTD HC, LLC, AND D&N, LLC

NOTICE OF REMOVAL

PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §1332 and l44l, and further based
upon the grounds set forth in this Notice of Removal, Defendants, ARCADIA NURSING AND
REHABILITATION CENTER, LLC, db/a WILLOW RID GE NURS ING AND REHABILITATION
CENTER, DTD HC, LLC, AND D&N, LLC (referred to as “Defendants”), With full reservation of
all rights and defenses, hereby remove this action from the Second Judicial District Court for the
Parish of Bienville, State of Louisiana, to the United States District Court, for the Western District
of Louisiana, Shreveport Division. ln support of this Notice of Removal, Defendants state as
follows:

l.
On November 12, 2015, Plaintiff, Jennifer Jones, individually and on behalf of the Estate of

her Mother, Jewel Walker, deceased, filed her Petition for Damages of Wrongful Death, Survival,

Case 5:15-CV-02910-KLH Document 1 Filed 12/31/15 Page 2 of 6 Page|D #: 2

and Breach of Contract, alleging that Defendants failed to provide reasonable care in accordance
with the standards of care required which resulted in the death of Mrs. Jewel Walker on March l3,
2015. A copy of plaintiff’s Petition for Damages of Wrongful Death, Survival, and Breach of
Contract, along with all other papers received by Defendants or otherwise filed in state court are
attached hereto as Exhibit l in compliance with 28 U.S.C. §l446(a).

2.

Defendants file this Notice of Removal pursuant to 28 U.S.C. §§ l 332, l44l(a), and l446(a)
and without prejudice to any defense Defendants may have to Plaintist action, jurisdictional or
otherwise.

3.

The citizenship of a limited liability company is determined by the citizenship of all of its
members. Harvey vs. Grey WolfDrilling Co., 542 F.3d 1077 (5"‘ Cir. 2008). Arcadia Nursing and
Rehabilitation Center, LLC, d/b/a Willow Ridge Nursing and Rehabilitation Center, is a Louisiana
limited liability company. Willow Ridge Nursing and Rehabilitation Center is a registered trade
name of Arcadia Nursing and Rehabilitation Center, LLC.

4.

The sole members of Arcadia Nursing and Rehabilitation Center, LLC are D&N, LLC

(50%) and DTD HC, LLC (50%).
5.
D&N, LLC is a New York limited liability company with its principal place of business in

Orchard Park, New York. lts members are Norbert A. Bennett, The Norbert A. Bennett

_2_

Case 5:15-CV-02910-KLH Document 1 Filed 12/31/15 Page 3 of 6 Page|D #: 3

Children’s Trust, and The Norbert A. Bennett Grandchildren’s Trust. Norbert A. Bennett is
an adult resident citizen of Erie County, New York. Ronald Bennett, a citizen of New York, is the
Trustee of The Norbert A. Bennett Children’s Trust and The Norbert A. Bennett
Grandchildren’s Trust.

6.

DTD HC, LLC is a is a New York limited liability company, whose members are Donald
T. Denz and The Donald T. Denz Irrevocable Trust. Donald T. Denz is an adult resident citizen
of Erie County, New York. Martin J. Clifford, a citizen of New York, is the Trustee of The
Donald T. Denz Irrevocable Trust.

7.

Defendants know of no limited liability company by the name of Willow Ridge Nursing and
Rehabilitation Center, LLC, and believes this to be a mistaken misnomer by the state court Plaintiff.
8.

The Petition for Damages of Wrongful Death, Survival, and Breach of Contract provides that
at the time of filing, Plaintiff Jennifer J ones was a resident of Lincoln Parish, Louisiana. Decedent,
Jewel Walker, was a resident of Willow Ridge Nursing Home from 2006 to 2015. Willow Ridge
Nursing Home is located in Arcadia, Louisiana. Accordingly, the Plaintiff is domiciled in the State
of Louisiana and is a citizen of the State of Louisiana, pursuant to 28 U.S.C. §1332.

9.

As the law of this Court is that diversity of a limited liability company is determined by the

citizenship of its members, diversity jurisdiction is proper in this Court as all of the Defendants have

_3_

Case 5:15-CV-02910-KLH Document 1 Filed 12/31/15 Page 4 of 6 Page|D #: 4

citizenship in New York, pursuant to applicable law, as set forth above. Accordingly, complete
diversity of citizenship exists between plaintiff and defendants
l 0.

Although the Defendants expressly deny any liability, the amount in controversy, as to
Plaintiff, considering the claimed damages, and the specific allegations of damages of the Complaint,
fairly exceeds $75,000.00, excluding interest and costs.

l l.

Pursuant to 28 U.S.C. § l446(a), the Complaint, which is the only pleading received by
Defendants, in the state court action, is being filed along with this Notice of Removal (attached as
Exhibit l hereto).

l 2 .

This Notice of Removal is timely filed under the provisions of 28 U.S.C. § 1446 because it

is filed within thirty (3 0) days of receipt of the Petition by Defendants.
l 3 .

All defendants are hereby joined in the Petition of Removal in a timely fashion subsequent
to service.

l 4.

Pursuant to 28 U.S .C. § l446(d), promptly after the filing of this Notice of Removal with this
Court, copies of this Notice of Removal will be filed with the Clerk of Court for the Second J udicial
District Court for the Parish of Bienville and will be served on the Plaintiff, through her counsel of

record, in the removed action.

Case 5:15-CV-02910-KLH Document 1 Filed 12/31/15 Page 5 of 6 Page|D #: 5

15.

Pursuant to 28 U.S.C. § l446(d), the filing of this Notice of Removal in this Court and the
filing of same with the state court, serves immediately to confer upon this Court exclusive
jurisdiction over this action and simultaneously to divest the state court of jurisdiction with respect
to this action,

l 6.

Upon information and belief, and without admitting plaintiffs’ entitlement to, or defendant’ s
liability for any amount of damages, appearers believe that the plaintiffs would contend that more
than $75,000 is in controversy. Accordingly, appearers desire trial by jury on all issues herein and
an order setting the amount of the bond therefor.

WHEREFORE, Defendants, ARCADIA NURSING AND REHABILITATION CENTER,
LLC, db/a WILLOW RIDGE NURSING AND REHABILITATION CENTER, DTD HC, LLC,
AND D&N, LLC, pray that this action be removed to this Court.

Respectfully submitted,

LUNN, lRlON, SALL Y,'C`ARLISLE & GARDNER

f \

" RGNALD E. RANEY, Ba?(oli No. 8570

  
 
     

BY:

 

P. O. Box l 534

Shreveport, Louisiana 71 ' 65-1534
Telephone: (318) 222-0665
Facsimile: (318) 220-3 265

E-mail: RER@lunnirion.com

ATTORNEYS FOR DEFENDANTS

Case 5:15-CV-02910-KLH Document 1 Filed 12/31/15 Page 6 of 6 Page|D #: 6

CEB_'[IFIQATE OF SEJRYICE

I certify that a copy of the foregoing Notice of Removal has been forwarded to Gia Kosrnitis

/

by facsimile, this 31St day of December, 2015.

 

ROMLD E. RANEM /

